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 7                                     UNITED STATES DISTRICT COURT
 8                                   EASTERN DISTRICT OF CALIFORNIA
 9

10     RALPH COLEMAN, et al.,                            No. 2:90-cv-0520 KJM SCR P
11                           Plaintiffs,
12             v.                                        ORDER
13     GAVIN NEWSOM, et al.,
14                           Defendants.
15

16                   On December 11, 1995, the court entered an order referring this matter to a Special

17    Master and directing that the Special Master’s fees and expenses be borne by the defendants as

18    part of the costs of this action. A significant amount of work remains to be done by the Special

19    Master and additional funds are required to pay his fees and expenses.

20                   The court must take all steps necessary to ensure timely payment of the Special

21    Master’s fees and expenses. Ongoing remedial issues require an additional deposit of funds

22    within the next thirty days.

23                   Accordingly, good cause appearing, IT IS HEREBY ORDERED that:

24                   1. Within thirty days from the date of this order, defendants shall deposit with the

25    Clerk of the Court a one hundred and fifty-first interim payment of costs in the amount of

26    $3,000,000.00, which amount shall be invested in the interest-bearing account previously opened

27    for this action; and

28    /////
                                                        1
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 1                  2. The Clerk of the Court is directed to serve a copy of this order on the Financial
 2    Department of this Court.
 3    DATED: December 4, 2024.
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